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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)

UNITED STATES OF AMERICA )
)

V. ) Criminal Action No. 21-599 (RBW)

)

DONNIE DUANE WREN and THOMAS _)
HARLEN SMITH, )
)

Defendants. )

)

ORDER

 

In accordance with the oral rulings issued by the Court during the jury trial held on
April 19, 2023, it is hereby

ORDERED that defendant Wren’s Motion to Compe! Disclosure of the Identity of
Confidential Human Sources and Undercover Law Enforcement, ECF No. 103, is DENIED. It
is further

ORDERED that the government’s objection to defendant Wren referencing potential
defense witness T.K. Johnson in his opening statement is SUSTAINED.

SO ORDERED this 21st day of April, 2023.

 

United States District Judge

 

' If defendant Wren intends to call T.K. Johnson as a witness or elicit information regarding this individual,
defendant Wren shall notify the Court prior to doing so.
